                       Case 1:21-cr-10271-PBS                Document 65              Filed 03/11/25            Page 1 of 7


AO 245B (Rev. 02/18)    Judgment in a Criminal Case
                        Sheet 1


                                           UNITED STATES DISTRICT COURT
                                                       District of Massachusetts
                                                                          )
               UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                                                          )
                                    v.                                    )
                        Alexander Giannakakis                             )
                                                                          )
                                                                                  Case Number: 1: 21 CR 10271                    - p� - 01
                                                                          )       USM Number: 98055-510
                                                                          )
                                                                                   Forest J. O'Neil
                                                                          )
                                                                                  Defendant's Attorney
                                                                          )
THE DEFENDANT:
1;z1 pleaded guilty to count(s)          3, 4 &5

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                          Offense Ended
18 USC§ 1519                   Concealment of Records in a Federal Investigation                               03/22/20           3
18 USC§ 1512(c)(l)             Tampering with Documents & Objects                                              03/22/20           4
18 USC§ 1512(c)(2)             Tampering with An Official Proceedings                                          03/22/20           5



                                                                            7
       The defendant is sentenced as provided in pages 2 through          ____ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
{ZI Count(s)           1&2                              D is      � are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material cl:ianges in econonnc circumstances.




                                                                                                                          s
                                                                          3/11/2025
                                                                         Date of Imposition of Judgment


                                                                         �G?�c--=-=��D���
                                                                         Signature of Judge                                           �

                                                                                  The Honorable Patti B. Saris
                                                                                  Judge, U.S. District Court
                                                                         Name and Title of Judge



                                                                         Date
Case 1:21-cr-10271-PBS   Document 65   Filed 03/11/25   Page 2 of 7
Case 1:21-cr-10271-PBS   Document 65   Filed 03/11/25   Page 3 of 7
Case 1:21-cr-10271-PBS   Document 65   Filed 03/11/25   Page 4 of 7
Case 1:21-cr-10271-PBS   Document 65   Filed 03/11/25   Page 5 of 7
Case 1:21-cr-10271-PBS   Document 65   Filed 03/11/25   Page 6 of 7
Case 1:21-cr-10271-PBS   Document 65   Filed 03/11/25   Page 7 of 7
